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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                            Chapter 11

OFF LEASE ONLY LLC, et al.,                       Case No. 23-11388 (CTG)

                             Debtors.             (Joint Administration Requested)


                      MOTION AND ORDER FOR ADMISSION PRO HAC VICE

Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice
of Ashley M. Weringa, Esquire of Proskauer Rose LLP, to serve as counsel to the Debtors in the above-
captioned cases.

Dated: September 8, 2023                        /s/ Laura Davis Jones
                                                Laura Davis Jones (DE Bar No. 2436)
                                                Pachulski Stang Ziehl & Jones LLP
                                                919 North Market Street, 17th Floor
                                                Wilmington, DE 19899-8705 (Courier 19801)

         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar in the State of Illinois and submit to
the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or
course of this action. I also certify that I am generally familiar with this Court’s Local Rules and with
Standing Order for District Court Fund revised August 31, 2016. I further certify that the annual fee of
$25.00 has been paid to the Clerk of Court for District Court.

Dated: September 8, 2023                        /s/ Ashley M. Weringa
                                                Ashley M. Weringa, Esq.
                                                PROSKAUER ROSE LLP
                                                70 West Madison, Suite 3800
                                                Chicago, IL 60602-4342
                                                Telephone: (312) 962-3550
                                                Facsimile: (312) 962-3551
                                                Email: AWeringa@proskauer.com

                                        ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




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